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&GERMME§E||M, L"Jut,ul l ici it 37

Coopor, Steve

 

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3. MAG. DKT./DEF. NUMBER

4. ols'r. oK'r./I)EF. NUMBER
2:05-02001 S-OOZ»MA

s. APPEALS DKT./DEF. NuMBEll"iL-'I`~`U

:'6§ QTHER-o-M~. HIFMBER

 

 

 

 

7. lN CASE/MAT|'ER oF (cm Nm¢; s. PAYM ENT CATEGORY 9. TVFE PERSON RE PRESENTQB AU{ m.B.S\:ME&AM Tth-:
l.l 115
U.S. v. Cooper Feiony Adult Defendant Criminal Case

 

ll. OFFENSE(S) CH ARGED (Clle U.S. Cotle, Tllle & Section)

|fmore than one oH'ense, list {up to five] major offenses charged, l

I) 21 846=CD.F -- CONSPIRACY TO D]STRIBUTE CONTROLLED SUBSTANCE

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recordle ose_vertty_|\;t'ori':n`-s}pi_g-}

?T COURT

   
   

429

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12. ATTORNEY'S NAME l-`i tN , M. . '
AND MAILING Al:mRE§Sra amc 1 , Last Nsme, including any suflix)

Perkins, Samuel
147 Jefferson, Ste 804
Memphis TN 38103

_Te|epi\oneNumber: _(901) 522'8832

 

14. NAME AND MAlLING ADDRESS OF LAW FlRM [nnl},l pr.ovide per instructions)

 

 

13. COURT ORDER

0 Appointlng Caunsei
[l F Suba Fur Federai Del'ender
l:| P Subs l-`or PaneiAtlorney

Pr|or Attorney's Name:

Co»Conntei
g R Subs For Retaineci Attorney
i:l Y Standby Counse|

W§) act iii a‘\,iEMPHT§ Q/t

 

Appoinimentl)ale:

[] Bel:ause the above-named person represented has testified under oath or has
otherwise satisfied thia court that he or she (i) is financially unable to employ counsel and
(2) does not wish to waive munse|, and hecaole the

ap oin

attorney whose name appears in lie 11
or
[:l Other (See instruettons)

 

terests of justice so require. the

to:eEresenl this person in this cale,

 

 

Signature of i’reslding Jud|cisl Ul'T'icer or ly Order of the Court
07/'7 6/') 005
Date of Ortler Nunc Pro Tunc Date

Repayment or partial repayment ordered

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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9. CERT|F|CA'IION OF A'ITORNEWPAYEE FOR THE PERIOD O F SERVICE
FROM 'IU

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2l1 AFPO|NTMEN'|` TERM|NATION DATE
lF OTHER THAN CASE`. COM PLET!ON

from the perIon represented for this service at

 

 

 

 

 

 

time olspputntment. |:] YES [:l ND

CATEGORIES (Attach itemization ol' services with dates] CEH[§{IYD SY§£E'B Wgw[gi§g" N,Y);_:BH§+§)H ABB{J'='IE($AL
15. a. Arraignmenl and.)'or Piea

h. Bail and Detention Hearings

c. Motion Hearings
fl d. Triat
g e. Sentencing Hearings
g f. Revocation Hearings
{ g. Appeais Court

h. Other (Specify on additional sheets)

(Rate per hour = $ ) TOTALS:

16. a. lnterviews and Conferences
l(tt) b. Obtainlng and reviewing records
0 c. Legai research and brief writing
; d. Travel time
§ e. lnvestigativ e and Other work (sp¢ciry nn additional mem
{ (Rate per hour = $ ] TOTALS:
17. Travel Expenses (iodging, parking, meals, mileage, ene.)
ts. Other Expenses (other titan expert, transcripts, ete.]

 

 

 

21. CASE DlSPO SITION

 

 

22. CLAIM STATUS ij Fina! Payment [:I interim Payment Number

representation'! 13 NO li' yes, give details on additional sheets
l swear or amrm tile truth or correctness of the above statementa.

Signat re of Att

 

Hlve you previously applied to the court ftr compensation and/or remimbursement lor this case?
Other than from the conét, have you, or tnyonr knowledge has anyone else, received payment (compensation or anything or value] from any other source in connection with this
ES

|:\ Suppiemental Plyment
|:l YES ll' yes. we

Date

 

 

. IN COURT COMP.

 

24. OUT OF COURT COM

25. TRAVEL EXPENSES

re you peid‘.’ I:\ YES lj NO

 

  
 

  

26. OTHER EXPENSES

27. TOTAL AMT. APPR¢‘CERT

 

 
  
 

  

 

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SIGNATURE OF THE PRESlDlNG .IUDlClAL OFF!(.`ER

DATE

Zla. JUDGEI MAG. JUDGE CODE

 

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lN COURT COMP. 30. OUT OF COURT CDMP.

 

 

3]. TRAVEL EXPENSES

32. OTHER EXPE

NSES 33. TOTAL AMT. APPROVED

 

approved in excess ofthe statutory threshold smoun

 

34. S[GNATURE OF CHfEF JUDGE. COURT Or" AI’P EALS (OR DELEGATE) Payment

DATE

 

34a. JUDGE CODE

 

 

 

Th`cs doct.ment entered on the docket shé.et ln cont£|iance
w\th Fi.\ie 55 and/or 32ibi FRCrP on

 
 
  
   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:05-CR-200] 8 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

